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                       UNITED STATES DISRICT COURT

                         DISTRICT OF NEW JERSEY




Osman Nuri Ozsusamlar,

               Plaintiff,

         vs.                       Case no: 2:13:-cv-01888-SCR-CLW

1- Carpezzi Liebert Group,

2- David Delgado,

3- Imperial Credit Corporation,

4- Tri-State General Insurance Agency,

5- Carolina Casualty Insurance Company,

6- Lloyd's of London,

                             Defendant(s).




                   *** JURY TRIAL DEMANDED ***

               CIVIL COMPLAINT FOR MONEY DAMAGES

               *** SECOND AMENDED COMPLAINT ***




                        I.   JURISDICTION

           (1) .    Plaintiff brings this lawsuit pursuant to 28

U.S.C. §1332. This Court has jurisdiction under 28 U.S.C.

§1331.

                                     1
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                              II. VENUE



         (2) .   The District of New Jersey is an appropriate

venue under 28 U.S.C.     §   139l(b) (2), because a substantial part

of the events or omissions giving rise to the claims occurred

in this district.



                              III. PARTIES



         (3).    Plaintiff Osman Nuri Ozsusamlar was at all times

relevant to this action an owner and president of ONLINE

EXPRESS, INC. at 349 12th. Ave. Paterson, New Jersey 07514,

which is located in the District of New Jersey.



         (4) .   Defendant Carpezzi Liebert Group [CLG] was at

all times relevant to this action as an Insurance Brokerage

business at 172 Main Street, Nanuet, New York.



         (5) .   Defendant David Delgado was all times relevant

to this action an employee for Carpezzi Liebert Group, working

as an insurance broker, at 172 Main Street, Nanuet, New York.



         (6).    Defendant Imperial Credit Corporation was at all

times relevant to this ac.tion as a Credit Company at 1001

Winstead Drive, Suite 500, Cary, North Carolina.



         (7) .   Defendant Tri-State General Insurance Company

was at all times relevant to this action at One Plaza East,

Fourth Floor, Salisbury, Maryland.
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          (8).     Defendant Carolina Casualty Insurance Company

was at all times relevant to this action as an underwriter at

4600 Touchton Rd. East, Suite 400, Jacksonville, Florida.



          (9).     Lloyd's of London was at all times relevant to

this action as an underwriter at 25 West 53th Street, 14th

Floor, New York, New York.



                             IV.   FACTUAL ALLEGATIONS



          (10).    On or about March 6, 2004, Plaintiff made an

oral/implied and, or written contract with David Delgado for

an insurance policy.



          (11) .   Plaintiff contracted an insurance policy to

cover for one year, eight trucks/trailers.



          (12).    On or about March 6, 2004, Defendant David

Delgado was an employee for HUB International Insurance

Broker.



          (13).    HUB International Insurance was stationed out

of 1005 Avenue of the Americas, New York, New York.



          (14).    On or about march 6, 2004, Plaintiff purchased

an one million dollar liability policy for motor trucks

insurance at a rate of $6,480.00 per truck.
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          (15) .   A one hundred thousand dollar policy of motor

trucks cargo insurance per          truck/~railer   at $820.00 each.

Which add the trucks/trai)_er value x 4.5%- minus physical

damage cost.



          (16) .   Plaintiff also had to purchase an Umbrella

coverage Insurance policy, which David Delgado advised due to

the affordable price.



          (17).    Plaintiff sealed the deal with David Delgado

and HUB International.



          (18) .   Plaintiff    insuranc~    then expired, and HUB
                                         '
International sent a refund
                         .. , check in the amount of

9,842.44(Exhibit 1).



          (19) .   On or about the first week of March 2005,

Defendant David Delgado went to visit Plaintiff at his

home/business address in Paterson, New Jersey.



          (20) .   During this meeting       Defenda~t   Delgado explained

to plaintiff that he (Delgado) new worked for Carpezzi Liebert

Group.   [CLG]



          (21) .   Defendant David Delgado advised Plaintiff that
                               ·!

Carpezzi Liebert Group offered a better quality of service

along with affordable prices.



          (22).    Defendant David Delgado informed Plaintiff that
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instead of their prior a9reement/contract from HUB

International, that Plaintiff would have to instead insure

thirteen (13) trucks/trailers.



           (23) .     Plaintiff agreed to defendant Delgado offer and

accepted an impied contract from defendant Delgado.



           24. Defendant David Delgado stipulated/contracted the

following with Plaintiff that online express incorporated

would receive one (1) million dollar liability policy of motor

trucks insurance at a cost of $ 6,480.00 per truck.

                               ·~   J _:


           25. An one (1) hundred thousand dollar cargo

insurance at a cost of $ 820.00 per truck along with a

physical damage coverage a.t a value of five (5) hundred

thousand dollars for the entire trucks multiplied by 4.5 %

equaling twenty thousand dollars and five hundred dollars.



           26. Plaintiff also was ordered to pay for the umbrella

coverage policy based off the advice of David Delgado.



           27. On or about March 3, 2005, Plaintiff signed a

certified check in the amount of $ 8,505.00 and gave it to

defendant Delgado along wtth a thirty percent premium down

payment.    (ex. 2)



           28. Platiff then decided on adding more

trucks/trailers to his companies fleet.
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          29. On or about July 5, 2005, plaintiff added five (5)

more trucks/trailers to the policy structured out by defendant

Delgado which Plaintiff endorsed a check for $ 18,951,50.

(ex, 3)



          30. Plaintiff at this point in time had (18) eighteen

trucks/trailers insured UDder the policy with Carpezzi Leibert

group.



          31. Plaintiff continued his responsibility and paid

his insurance bills. Either through wire transfers, or a

company check.



                  32. On or about October 6, 2005, plaintiff was

arrested and incarceration for charges unrelated to his

trucking business.



          33. Plaintiff's c,ompany, online express incorporated

went out of business, due to the fact that nobody was able to

run the day-to-day activities.



          34. At the time of Plaintiff's arrest, he owned two

(2) trucks/trailers and the rest of the trucks were insured by

online express line was the contractors that worked for

Plaintiff.



          35. To this very day, Plaintiff does not know where

his trucks are or have anything else dealing with the company,

as result of his incarceration.
                           '•, .   ~I   •
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          36. On or about November 26, 2007, Plaintiff was sent

to a super maximum security prison in Colorado.



          37. While housed at the prison, Plaintiff was

restricted of many privileges.



          38. Plaintiff was unable to talk with anybody

associated with or who use to work for online express

incorporated.



          39. Plaintiff received a refunded check from HUB

international in the amount of $ 9,842.49.



          40. Plaintiff was then expecting similar refunds from

the Carpezzi Liebert Group for a substantial amount. Due to

the fact that, Plaintiff didn't use the full year worth of

insurance.



          41. Plaintiff while housed at the super max prison,

first realized that he had been defrauded by defendant David

Delgado, Carpezzi Liebert Group and Imperial Credit

Corporation.



          42. On or about September 26, 2010, Plaintiff wrote a

letter to Carpezzi Liebert Group asking for numerous

information including but not limited to the insurance policy

number.
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          43. Carpezzi Liebert Group responded back with a

detailed letter.     (ex 5)



          44. Plaintiff received the material, and noticed once

again that he, infact was defrauded by defendant David Delgado

and Carpezzi Leibert Group.



          45~   Plaintiff had noticed that he paid a large sum of

money for trucks/trailer that wasn't provided or even insured.

(ex.5,6,&7)



          46. Plaintiff received a copy of the total payments

being made to Carpezzi Leibert Group.



          47. Carpezzi Leibert Groups payment history from their

underwriter Carolina Casualty Insurance Company shows that

plaintiff paid a total        pt;~mium   of $58,378.00 from March 6,

2005 to March 6, 2006 for the Liability Motor Truck Insurance.

(ex. 6)



          48. Carpezzi Leibert Groups other underwriter Lloyd's

of London payment history shows plaintiff paid a total of

$10.800 for Motor Trucks Cargo Ins¥rance.           (Ex.7)



          (49) .   Thereby bringing Plaintiff total payments for

insurance with Carpezzi Leibert Group at $69,178.



          (50) .   Plaintiffreceived an additional payment
                               ,:: ~~!

history from Imperial Credit Corporation, Carpezzi Leibert
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                            ··,'·



Group Credit processor, and seen that Plaintiff paid from his

company's account a total of $141,142.03; through the period

of March 7, 2005 to November 29, 2005. (Ex.4)



          (51) .   Plaintiff paid this large amount without adding
                                        ;


the thirty percent fee Defendant David Delgado always

required.



          (52).    Defendants David Delgado and Carpezzi Leibert

Group defrauded Plaintiff out of $71,964 plus the thirty

percent down payment.      This amount does not include the

interest totaled.



          (53).    Defendants David Delgado and Carpezzi Leibert

Group breached their contract by failing to even insure nine

 (9) trucks and ten (10) trailers.



          (54) .   Defendants David Delgado and Carpezzi Leibert

Group deleted the nine (9) trucks and ten (10) trailers before

plaintiff's insurance expired on March 6, 2006.



          (55) .   Defendants David Delgado and Carpezzi Leibert

Group breached their agreement and defrauded plaintiff out of

an additional $15,791.33 by not insuring the nine (9) trucks

and ten (10) trailers.



         (56).     Defendants David Delgado and Carpezzi leibert

Group acted in bad faith with overcharging plaintiff for

services, and for services never rendered.
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           (57).   Defendants    Carpezzi Leibert Group wrongful

 withheld a refund of $22,145.49 based off of eighteen (18)

 trucks and trailers.      This figured was based off the Umbrella

 coverage that was never ·fully utilized.



           (58).   Defendant Carpezzi Leibert Group and David

 Delgado failed to and/or negligently and wrongfully withheld

 to insurance of nine (9) trucks and eight (8) trailers that

 plaintiff purchased on or about Jrily 5, 2005.



          (59).    Defendants David De·lgado and Carpezzi Leibert

 Group defrauded plaintiff for $58,320 for the nine (9) trucks

 and $7,380 for the eight (8) trailers, $11,250 for the

 physical damage insurance which was never provided.



          (60) .   Defendants David Delgado and Carpezzi Leibert

 Group's elaborate fraud of plaintiff comes to a total of

 $186,850.82 plus interest.



          (61).    Plaintiff tried several times contacting the

insurance companies to inquire about his money owed, but they

failed to respond in good faith.



          (62).    Plaintiff filed a complaint with the State of

New York Insurance Commission in reference to the companies

fraud based tactics. (Ex.9)
                          ::·1




          (63).    On or about November 15, 2011, plaintiff was
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 transferred from the Super Maximum Security Prison in

 Colorado.



          (64).    Plaintiff arrived at the present facility in

Atwater, California.



          (65).    Plaintiff continued his letter campaign trying

 to gather the appropriate documents to bring a suit against

 the defendants.



          (66).    Numerous Defendants were unwilling to provide

plaintiff with copies, policies, and or other vital

information for the civil action.



          (67).    On or about March 15, 2013, plaintiff filed a

 "Complaint for Insurance Fraud."



          (68).    On or about May 2, 2013, the District Court of

New Jersey dismissed without prejudice civil action.



                      V. CAUSE OF ACTION

         Plaintiff's contract was breached in violation of New

Jersey's Laws Governing a BREACH of An Implied Covenant.

          (69) .   Plaintiff incorporates paragraphs 1 through 68
as though they were fully herein.

          (70).    Defendants David Delgado and Carpezzi Leibert

Group subjected Plaintiff to a fraudulent inducement by

agreeing to insure Plaintiff's twenty-one (18)

trucks/trailers, but failing to do so.
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            (71) .   Defendants David Delgado and Carpezzi Leibert

 Group knew that they never intended to give plaintiff the full

 coverage that was paid for.



            (72) .   Defendants Daivd Delgado and Carpezzi Leibert

 Group knew that plaintiff would rly on Delgado's implied

 contract from their past dealings with each other, os as to

 further their fraud against plaintiff.



                              COUNT II.



          Plaintiff's contract was breached in violation of New

 Jersey's laws governing a breach of an implied covenant.



            (73).    Plaintiff incoporates paragraphs 1 through 72

as though they were stated fully herein.



          (74).      Defendants David Delgado and Carpezzi Leibert

Group agreed to insure eighteen (18) trucks and trailers, then

defrauded plaintiff by failing to insure all the trucks.



          (75).      Defendants David Delgado and Carpezzi Leibert

Group schemed, defrauded, and wrongfully broke the implied

contract to insure plaintiff's eighteen (18) trucks and

trailers.



                              COUNT III
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          Plaintiff was subjected to negligent Service by

 Defendants in violation of New Jersey's law governing breach

 of fiduciary duty.



          (76).   Plaintiff incoporates paragraphs 1 through 75

 as though they were stated fully herein.



          (77).   Defendants Daivd Delgado, Carpezzi Leibert

 Group, Imperail Credit Corporation, Tri-State General

 Insurance, Carolina Casualty Insurance and Lloyd's of London

 acted carelessly, recklessly and/or negligated by failing to

uncover the fraud.



          (78).   Defendants David Delgado, Carpezzi Leibert

Group, Imperal Credit Corporation, Tri-State Genereal

 Insurance, Carolina Casualty Insurance and Lloyd's of London

breached their feduciary duties by failing to investigate

plaintiff's complaint of fraud and breach of contract.



                            COUNT
                             ·-
                                  IV



          Defendants David Delgado, Carpezzi Leibert Group,

Imperial Credit Corp., Tri-State General Insurance, Carolina

Casualty Insurance Company and Lloyd's of London acted in bad

faith in violation of New Jersey's•Good Faith in every

contract law.



          (79).   Plaintiff incorporates paragraphs 1 through 78

as though they were stated fully herein.
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            (80) .   Defendants (all included) acted in bad faith by

 failing to investigae, evaluate and process plaintiff's fraud

 claims.



           (81) .    Defendants (all included) recklessly

disregarded plaintiff's pleas, without valid reason, for

assistance in help to determine why plaintiff was cheated out

of his contract.



                             VI PRAYER FOR RELIEF



           WHEREFORE, Plaintiff respe:ctfully prays that this

court:

           A.   Declare that the acts and omissions described

herein violated plaintiff rights under the laws of New Jersey

and the United States.

           B.   Order defendants to pay compensatory and punitive

damages, in the amount to be determined at trial but over and

beyond the initial lost of~ \'8b. 8S0.8'5" .

           C.   Order defendants to pay reasonable attorney fees

and costs; and

           D.   Grant other just and equitable relief that this

Honorable Court deems necessary.




Respectfully submitted,
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 /s/   ~~~c:::-
OSMAN N. OZSUSAMLAR

USP-Atwater

P.O.Box 019001

Atwater, CA. 95301




                    !

          Dated:   Jn\C 8. J.O\ ?J.
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                            VERIFICATION



          Pursuant to 28 USC    §   1746, I declare and verify under

penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

          Executed on July~, 2013.
